Case 2:22-cv-01564-MEMF-AS Document 1 Filed 03/08/22 Page 1 of 21 Page ID #:1




  1 KOHRMAN JACKSON & KRANTZ LLP
    ALEX E. JONES (PHV Application to be submitted)
  2 aej@kjk.com
    KYLE D. STROUP (PHV Application to be submitted)
  3 kds@kjk.com
    1375 East Ninth Street, 29th Floor
  4 Cleveland, Ohio 44114
    Telephone: (216) 696-8700
  5 Facsimile: (216) 621-6536
  6 JEFFER MANGELS BUTLER & MITCHELL LLP
    ROD S. BERMAN (Bar No. 105444)
  7 1900 Avenue of the Stars, 7th Floor
    Los Angeles, California 90067-4308
  8 Telephone: (310) 203-8080
    Facsimile: (310) 203-0567
  9
    JEFFER MANGELS BUTLER & MITCHELL LLP
 10 GREGORY S. CORDREY (Bar No. 190144)
    gcordrey@jmbm.com
 11 3 Park Plaza, Suite 1100
    Irvine, California 92614-2592
 12 Telephone: (949) 623-7200
    Facsimile: (949) 623-7202
 13
    Attorneys for Plaintiff THERABODY, INC.
 14
                           UNITED STATES DISTRICT COURT
 15
                         CENTRAL DISTRICT OF CALIFORNIA
 16
                                   WESTERN DIVISION
 17
 18
      THERABODY, INC.,                      Case No. 2:22-cv-01564
 19
                        Plaintiff,          COMPLAINT FOR:
 20
                   v.                       DECLARATORY RELIEF, UNFAIR
 21                                         COMPETITION, TORTIOUS
      E ZEE ELECTRONICS, INC.,
 22                                         INTERFERENCE, TRADEMARK
                        Defendant.          INFRINGEMENT, TRADEMARK
 23                                         DILUTION, AND UNFAIR
 24                                         BUSINESS PRACTICES, CAL. BUS.
                                            & PROF. CODE § 17200 ET SEQ.
 25
                                            JURY DEMAND REQUESTED
 26
 27
 28

      69980454v1                                                  Case No. 2:22-cv-01564
                                       COMPLAINT
Case 2:22-cv-01564-MEMF-AS Document 1 Filed 03/08/22 Page 2 of 21 Page ID #:2




  1                Plaintiff Therabody, Inc. (“Plaintiff”), by and through counsel, for its
  2 Complaint against Defendant E ZEE Electronics, (“Defendant”), states as follows:
  3                                          INTRODUCTION
  4                1.    Defendant is engaged in the unauthorized sale of materially different
  5 products under Plaintiff’s brand name and using Plaintiff’s trademarks.
  6                2.    As a result of Defendant’s unauthorized sales, Defendant is harming
  7
      consumers and Plaintiff’s business relationships, deceiving and misleading the
  8
      consuming public, and violating Plaintiff’s rights in its proprietary intellectual
  9
 10 property.
 11
                   3.    These unauthorized sales and infringing activities are illegal and have
 12
      harmed, and will continue to harm, Plaintiff.
 13
 14                                               PARTIES
 15
                   4.    Plaintiff is a corporation organized under the laws of the State of
 16
 17 Delaware with its principal place of business in California.
 18                5.    Plaintiff designs, manufactures, and sells high-end percussive massage
 19
      devices, wellness products, and accessories (collectively, the “Products”).
 20
 21                6.    Defendant is a corporation purportedly formed under the laws of the

 22 State of California and headquartered in Los Angeles, California.
 23
                   7.    Defendant sells the Products, without Plaintiff’s authorization or
 24
 25 consent, as a third-party seller on Amazon.com, Inc.’s (“Amazon”) United States e-
 26 commerce platform (the “Amazon Marketplace”) at the unique Amazon
 27
      Marketplace storefront E ZEE ELECTRONICS, found here:
 28

      69980454v1                                       2                         Case No. 2:22-cv-01564
                                                  COMPLAINT
Case 2:22-cv-01564-MEMF-AS Document 1 Filed 03/08/22 Page 3 of 21 Page ID #:3




  1 https://www.amazon.com/s?me=A1LLZOUM6C4EQT&marketplaceID=
  2
      ATVPDKIKX0DER (the “Storefront”).
  3
                   8.    Defendant is selling the Products and using Plaintiff’s proprietary
  4
  5 intellectual property in connection with such sales without Plaintiff’s authorization
  6
      or consent.
  7
                                      JURISDICTION AND VENUE
  8
  9                9.    This Court has original subject matter jurisdiction over Plaintiff’s
 10 trademark claims pursuant to 28 U.S.C. § 1338(a).
 11                10.   This Court also has original subject matter jurisdiction over Plaintiff’s
 12 unfair competition claims, pursuant to 28 U.S.C. § 1338(b) because they are joined
 13 with Plaintiff’s substantial and related trademark claims.
 14                11.   Pursuant to 28 U.S.C. § 1367, the Court has supplemental subject
 15 matter jurisdiction over Plaintiff’s remaining claims because they form part of the
 16 same case or controversy as Plaintiff’s trademark and unfair competition claims.
 17                12.   This Court has general personal jurisdiction over Defendant because
 18 Defendant is a corporation formed and headquartered in the State of California.
 19                13.   This Court has personal jurisdiction over Defendant because Defendant
 20 has shipped, sold and marketed the Products in California, in a manner that has
 21 harmed Plaintiff and violated its intellectual property rights.
 22                14.   Defendant is subject to the Court’s jurisdiction pursuant to Cal. Code
 23 Civ. Proc. § 410.10, as exercising such jurisdiction is not inconsistent with the
 24 Constitution of California or the United States.
 25                15.   Defendant has sufficient minimum contacts with the State of California
 26 with respect to the subject matter of this action to satisfy Constitutional due process.
 27 As a result of Defendant’s business activities directed to the state of California,
 28 Defendant could reasonably anticipate being brought into court in this forum.

      69980454v1                                       3                         Case No. 2:22-cv-01564
                                                  COMPLAINT
Case 2:22-cv-01564-MEMF-AS Document 1 Filed 03/08/22 Page 4 of 21 Page ID #:4




  1                16.   Venue is proper pursuant to 28 U.S.C. § 1391(b)(1) because Defendant
  2 resides within this District.
  3                                           BACKGROUND
  4                                          Plaintiff’s Business
  5                17.   Plaintiff sells the Products bearing various trademarks validly
  6 registered with the United States Patent and Trademark Office, including
  7 Registration Numbers 52133141, 6206626, 6218258, 6126363, 6060204, 6126362,
  8 6126360, 6030995, 6043917, 6081408, 6043891, 6120156, 6149774, 6120853
  9 (collectively, the “Trademarks” and each, a “Trademark”), which are identified in
 10 the attached Exhibit A.
 11                18.   Plaintiff sells the Products on the internet and through interstate
 12 commerce.
 13                19.   Plaintiff has spent significant resources to develop, market, and protect
 14 the Trademarks.
 15                20.   Plaintiff sells the Products on its United States website
 16 (https://www.therabody.com/us/en-us/home) (the “Website”), through select online
 17 retailers, on the Amazon Marketplace, and in traditional brick-and-mortar
 18 establishments.
 19                21.   Plaintiff also sells to and through certain wholesalers and authorized
 20 resellers (each, an “Authorized Reseller” and collectively, the “Authorized
 21 Resellers”).
 22                22.   Plaintiff strives to ensure that consumers of its Products are receiving
 23 authentic Products from either Plaintiff itself or one of its reputable Authorized
 24 Resellers.
 25                23.   As a result of these actions, Plaintiff has become an industry leader in
 26 the market, and the Products are synonymous with high-end, top-quality percussive
 27 massage devices.
 28

      69980454v1                                       4                          Case No. 2:22-cv-01564
                                                  COMPLAINT
Case 2:22-cv-01564-MEMF-AS Document 1 Filed 03/08/22 Page 5 of 21 Page ID #:5




  1                                     The Growth of E-Commerce
  2                24.   The explosion of e-commerce websites, particularly the Amazon
  3 Marketplace, has created problems and challenges for manufacturers, brands, and
  4 authorized resellers, including Plaintiff.
  5                25.   Plaintiff and other businesses must ensure that products sold are
  6 genuine, defect free, and come with all warranties in order to maintain, and continue
  7 building, their valuable goodwill and reputation.
  8                26.   In this e-commerce age, unauthorized resellers can obtain products
  9 from a variety of sources and then sell products anonymously online.
 10                27.   Many times, the products sold by unauthorized resellers may be
 11 materially different than those sold by the brands or authorized resellers.
 12                28.   Specifically, unauthorized resellers may sell products without
 13 warranties, of an inferior quality, that are defective, and in violation of a business’s
 14 rights in its intellectual property.
 15                29.   Indeed, on the Amazon Marketplace, all sales of a particular product
 16 are sold under a unique Amazon Standard Identification Number (“ASIN”) such that
 17 consumers do not know whether a product is sold by an unauthorized reseller or a
 18 legitimate reseller.
 19                30.   Because the unauthorized resellers are able to sell without disclosing
 20 their identity, manufacturers and brands experience challenges in communicating
 21 with the unauthorized resellers to alert them of material differences.
 22                31.   Ultimately, consumers are harmed as they unknowingly buy a
 23 materially different product compared to a legitimate product from the
 24 manufacturer.
 25                                     Plaintiff’s Warranty Policy
 26                32.   Plaintiff and its Authorized Resellers offer consumers an industry-
 27 leading warranty for the Products. (the “Warranty”).
 28

      69980454v1                                      5                         Case No. 2:22-cv-01564
                                                 COMPLAINT
Case 2:22-cv-01564-MEMF-AS Document 1 Filed 03/08/22 Page 6 of 21 Page ID #:6




  1                33.   The Warranty is attached as Exhibit B and can be found online. See
  2 THERABODY, Therabody Warranty https://www.therabody.com/us/en-us/warranty-
  3 support//
  4                34.   Defendant cannot offer its customers the Warranty.
  5                35.   The Warranty makes clear that it is only given “to the individual
  6 purchaser of products from Therabody or its authorized retailers and distributors”
  7 (emphasis added). Id.
  8                36.   To obtain the Warranty protection, consumers must provide, among
  9 other things, proof of purchase of the Product. Id.
 10                37.   Plaintiff has taken further steps to notify the consuming public that
 11 only Products sold by Plaintiff or its Authorized Resellers come with the Warranty.
 12                38.   Indeed, the Website contains an entire page warning consumers of the
 13 potential pitfalls in purchasing from unauthorized resellers such as Defendant. See
 14 THERABODY, Unauthorized Retailers, https://www.therabody.com/us/en-
 15 us/therabody-unauthorized-retailers/
 16                39.   Plaintiff specifically states:
 17                The Therabody Limited Warranty is only honored for Therabody
                   Products purchased directly from Therabody or one of its
 18
                   authorized retailers. Sometimes Therabody Products are sold by
 19                unauthorized retailers. These goods are often not purchased from
                   Therabody or from an authorized distributor. Instead they are
 20
                   acquired from a host of other sources without our authorization.
 21                Due to the nature of the goods sold by unauthorized dealers and
                   their business practices, products sold by unauthorized dealers are
 22
                   not entitled to the benefits of the Therabody Limited Warranty.
 23                Therabody products sold by unauthorized dealers may be
                   purchased on a secondary “gray” market and can be pirated goods
 24
                   not produced by Therabody, damaged, defective, refurbished,
 25                stolen and/or even counterfeit. Id.
 26
                   40.   Plaintiff has gone to great lengths to inform consumers about the issues
 27
 28 associated with buying Products from Unauthorized Resellers; however, the nature

      69980454v1                                          6                      Case No. 2:22-cv-01564
                                                   COMPLAINT
Case 2:22-cv-01564-MEMF-AS Document 1 Filed 03/08/22 Page 7 of 21 Page ID #:7




  1 of the Amazon Marketplace (as described above) allows Defendant to sell the
  2
      Products to unsuspecting consumers who believe they are receiving a genuine
  3
      Product, when in fact it is materially different than Products sold by Plaintiff or its
  4
  5 Authorized Resellers.
  6
                   41.   Plaintiff implemented its Warranty to protect its brand, goodwill, and
  7
      valuable intellectual property, to maintain the integrity of its Products, and
  8
  9 ultimately to protect and for the benefit of consumers.
 10
                   42.   However, Plaintiff simply cannot warrant Products of an unknown
 11
 12 origin.
 13                43.   Unauthorized resellers will sell used, damaged, returned, repackaged,
 14
      resealed, counterfeit, or knock-off Products as new, and because these sales are all
 15
 16 without Plaintiff’s knowledge or consent, Plaintiff has no way to verify the
 17 legitimacy of the Products.
 18
                   44.   Similarly, Plaintiff cannot verify the source, authenticity, or legitimacy
 19
 20 of Products sold by Defendant, and therefore Plaintiff cannot warrant such Products.
 21                45.   As a result, all Products sold by Defendant are materially different than
 22
      Products sold by Plaintiff as the Products sold by Defendant do not come with the
 23
 24 Warranty.
 25                46.   Additionally, Amazon requires that any goods sold as “New” come
 26
      with the “Original manufacturer’s warranty, if any.” See AMAZON, Marketplace
 27
 28

      69980454v1                                       7                         Case No. 2:22-cv-01564
                                                  COMPLAINT
Case 2:22-cv-01564-MEMF-AS Document 1 Filed 03/08/22 Page 8 of 21 Page ID #:8




  1 Items Condition Guidelines,
  2
      (https://www.amazon.com/gp/help/customer/display.html?nodeId=201889720).
  3
                   47.   Defendant lists the Products for sale as “New,” under the Product’s
  4
  5 unique ASIN, but without Plaintiff’s warranties.
  6
                   48.   Unwitting consumers are then deceived into purchasing products that
  7
      are materially different than the Product.
  8
  9                                    Authorized Reseller Contracts
 10                49.   When Plaintiff sells to Authorized Resellers, Plaintiff enters into
 11 contracts with the Authorized Reseller (“Reseller Agreements”).
 12                50.   Authorized Resellers may only sell the Products pursuant to a Reseller
 13 Agreement.
 14                51.   Each Authorized Reseller agrees to be bound by Plaintiff’s terms and
 15 conditions (the “Terms and Conditions”).
 16                52.   Plaintiff uses Reseller Agreements and the Terms and Conditions in
 17 order to promote fair competition between Authorized Resellers and to protect its
 18 brand, its goodwill, and its valuable intellectual property, including its proprietary
 19 images, designs, and the Trademarks.
 20                53.   The Terms and Conditions limit Authorized Resellers’ use of the
 21 Trademarks to avoid brand dilution, tarnishment, and confusion as to the origin of
 22 the Products.
 23                54.   The Terms and Conditions also prohibit any Authorized Reseller from
 24 selling or otherwise distributing the Products to other resellers.
 25                55.   Additionally, the Terms and Conditions establish a uniform pricing
 26 policy amongst Authorized Resellers, grant limited licenses for use of Plaintiff’s
 27 proprietary intellectual property, including the Trademarks, and ensure that
 28

      69980454v1                                       8                         Case No. 2:22-cv-01564
                                                  COMPLAINT
Case 2:22-cv-01564-MEMF-AS Document 1 Filed 03/08/22 Page 9 of 21 Page ID #:9




  1 Authorized Resellers are not disparaging Plaintiff’s brand or using deceptive tactics
  2 in advertising the Products, among other things.
  3                56.   The Terms and Conditions also specify that the Warranty associated
  4 with the Products are only valid through the Authorized Resellers and place certain
  5 restrictions upon issuing the Warranty.
  6   Defendant Sells the Products on the Amazon Marketplace Without Authorization
  7                57.   Since at least January 8, 2021, Plaintiff has been aware of Defendant’s
  8 unauthorized sale of materially different Products, which infringe on Plaintiff’s
  9 Trademarks and tarnish its brand.
 10                58.   The Products sold by Defendant are materially different to those sold
 11 by Plaintiff or Plaintiff’s Authorized Resellers because Products sold by Defendant
 12 come from an unknown origin and do not come with the Warranty.
 13                59.   Plaintiff cannot honor warranty claims from Defendant’s customers
 14 related to the Products because of Defendant’s status as an unauthorized reseller.
 15                60.   Defendant is infringing on Plaintiff’s rights when it sells Products as
 16 genuine when, in fact, the Products sold are materially different.
 17                61.   Proof of Defendant’s sale of the Products is attached as Exhibit C.
 18                62.   As a result of Defendant’s sales, Plaintiff has twice notified Defendant
 19 of Defendant’s unauthorized sales and Defendant’s violation of Plaintiff’s rights in
 20 the Trademarks, as evidenced by two cease-and-desist letters dated January 8, 2021,
 21 and February 8, 2022, respectively, which are attached as Exhibit D (the “Letters”).
 22                63.   The Letters put Defendant on notice of Plaintiff’s claims and requested
 23 that Defendant cease such conduct immediately.
 24                64.   In the Letters, Plaintiff requested that Defendant confirm in writing by
 25 January 22, 2021, and February 17, 2022, respectively, that it would cease selling
 26 the Products without authorization in violation of Plaintiff’s Policies and rights in
 27 the Trademarks.
 28                65.   Defendant failed to respond to the Letters whatsoever.

      69980454v1                                      9                           Case No. 2:22-cv-01564
                                                 COMPLAINT
Case 2:22-cv-01564-MEMF-AS Document 1 Filed 03/08/22 Page 10 of 21 Page ID #:10




   1                66.   As of the date of this filing, Defendant has not agreed to cease and
   2 desist from selling the Products and infringing upon Plaintiff’s rights in the
   3 Trademarks.
   4                67.   However, Defendant appears to have stopped selling the Products on
   5 the Amazon Marketplace.
   6                68.   Defendant’s unauthorized sales and violations of Plaintiff’s rights in the
   7 Trademarks harms Plaintiff and its Authorized Resellers and misleads consumers.
   8                69.   Accordingly, Plaintiff initiated this action.
   9                                               Count One
  10                              Declaratory Judgment/Injunctive Relief
  11                70.   Plaintiff incorporates each and every preceding paragraph as if fully
  12 restated herein.
  13                71.   An actual and justiciable controversy exists between Plaintiff and
  14 Defendant related to whether Defendant has the right to sell the Products without
  15 Plaintiff’s consent and in violation of Plaintiff’s rights in the Trademarks.
  16                72.   The Court, pursuant to Cal. Code of Civ. P. §1060, Cal. Bus. & Prof.
  17 Code §17203 and §14250, 28 U.S.C. §2201, and Fed. R. Civ. P. 57, should declare
  18 that Defendant has no right or authorization to sell the Products, or use the
  19 Trademarks, as these actions have harmed and continue to harm Plaintiff in an
  20 amount to be determined at trial.
  21                73.   The Court should further declare that the Letters gave Defendant actual
  22 notice that it was not authorized to use the Trademarks, and any continued use of the
  23 Trademarks or unauthorized sales of the Products constitutes willful violations of
  24 Plaintiff’s rights in the Trademarks.
  25                74.   Such a declaration is proper, pursuant to Cal. Code of Civ. P. §1060,
  26 Cal. Bus. & Prof. Code §17203 and §14250, and 28 U.S.C. §2201, because the
  27 declaration would terminate the actual and justiciable controversy between Plaintiff
  28 and Defendant and remove any uncertainty with respect to this issue.

       69980454v1                                       10                        Case No. 2:22-cv-01564
                                                   COMPLAINT
Case 2:22-cv-01564-MEMF-AS Document 1 Filed 03/08/22 Page 11 of 21 Page ID #:11




   1                75.   Additionally, the Court should enjoin Defendant from any further sales
   2 of the Products and use of the Trademarks.
   3                                              Count Two
   4                            Common Law Unfair Competition § 14259
   5                76.   Plaintiff incorporates each and every preceding paragraph as if fully
   6 restated herein.
   7                77.   Defendant’s actions, including, but not limited to, its unauthorized sale
   8 of the Products and its unauthorized use of the Trademarks, constitute unfair
   9 competition.
  10                78.   Defendant’s actions have damaged Plaintiff in the form of, inter alia,
  11 lost sales, interference with current and prospective business relationships,
  12 trademark infringement, trademark dilution, and tarnishment of Plaintiff’s brand,
  13 goodwill, and reputation.
  14                79.   As a direct and proximate cause of Defendant’s conduct, Plaintiff has
  15 suffered and will continue to suffer damages in an amount to be proven at trial.
  16                                             Count Three
  17                         Tortious Interference with Business Relationships
  18                80.   Plaintiff incorporates each and every preceding paragraph as if fully
  19 restated herein.
  20                81.   The Reseller Agreements are valid binding contracts between Plaintiff
  21 and each Authorized Reseller.
  22                82.   The Terms and Conditions are valid binding contracts between Plaintiff
  23 and each Authorized Reseller.
  24                83.   At least since receiving the Letters, Defendant has been aware of these
  25 contracts and Defendant’s interference with Plaintiff’s Authorized Resellers.
  26                84.   Despite this knowledge, Defendant sold the Products on the Amazon
  27 Marketplace, which, inter alia, harmed Plaintiff’s relationships with its Authorized
  28 Resellers and future Authorized Resellers.

       69980454v1                                      11                         Case No. 2:22-cv-01564
                                                   COMPLAINT
Case 2:22-cv-01564-MEMF-AS Document 1 Filed 03/08/22 Page 12 of 21 Page ID #:12




   1                85.   Defendant improperly interfered with Plaintiff’s relationships with its
   2 Authorized Resellers.
   3                86.   As a direct and proximate cause of Defendant’s interference, Plaintiff
   4 has suffered and will continue to suffer damages in an amount to be proven at trial.
   5                                             Count Four
   6                            Trademark Infringement (15 U.S.C. § 1114)
   7                87.   Plaintiff incorporates each and every preceding paragraph as if fully
   8 restated herein.
   9                88.   Plaintiff is the owner of the Trademarks.
  10                89.   The Trademarks are valid and subsisting marks, in full force and effect,
  11 and registered with the United States Patent and Trademark Office.
  12                90.   Defendant uses the Trademarks in connection with its sale of the
  13 Products without Plaintiff’s authorization or consent.
  14                91.   The Products sold by Defendant bearing the Trademarks do not come
  15 with Plaintiff’s Warranty. See Ex. B.
  16                92.   Because the Products sold by Defendant do not have the Warranty,
  17 these Products are not genuine and are materially different from Products sold by
  18 Plaintiff or Authorized Resellers.
  19                93.   Defendant’s unauthorized sale of the Products bearing the Trademarks
  20 has infringed on, and damages the value of, the Trademarks.
  21                94.   Defendant’s use of the Trademarks is likely to cause confusion, cause
  22 mistake, or deceive customers because it suggests that the Products sold by
  23 Defendant come with the Warranty, in fact, they do not.
  24                95.   Confusion is more likely given that Defendant lists the Products as
  25 “New” despite it being a violation of Amazon’s Marketplace Items Condition
  26 Guidelines to list an item as “New” when it does not come with the manufacturer’s
  27 warranty as is the case with Defendant’s sale of the Products.
  28

       69980454v1                                     12                         Case No. 2:22-cv-01564
                                                  COMPLAINT
Case 2:22-cv-01564-MEMF-AS Document 1 Filed 03/08/22 Page 13 of 21 Page ID #:13




   1                96.   Defendant’s use of the Trademarks is likely to cause confusion, cause
   2 mistake, or deceive customers because it suggests that the Products are sponsored by
   3 or authorized for sale by Plaintiff, when, in fact, they are not.
   4                97.   Defendant informed Plaintiff that its sales of the Products infringed on
   5 Plaintiff’s rights in the Trademarks.
   6                98.   As a direct and proximate result of Defendant’s sale of the Products
   7 bearing the Trademarks, Plaintiff has suffered and continues to suffer immediate and
   8 irreparable harm, including harm to the reputation and goodwill of its business and
   9 loss of profits in an amount to be proven at trial.
  10                99.   Plaintiff is entitled to recover damages from Defendant’s infringement
  11 and disgorgement of any profits from Defendant’s infringing sales of the Products.
  12                100. Plaintiff is further entitled to injunctive relief pursuant to 15 U.S.C.
  13 §1116 and increased damages pursuant to 15 U.S.C § 1117(a) because Defendant’s
  14 infringement of the Trademarks is willful.
  15                                               Count Five
  16                              Unfair Competition (15 U.S.C. § 1125(a))
  17                101. Plaintiff incorporates each and every preceding paragraph as if fully
  18 restated herein.
  19                102. Plaintiff is the owner of the Trademarks.
  20                103. The Trademarks are valid and subsisting marks, in full force and effect,
  21 and registered with the United States Patent and Trademark Office.
  22                104. Defendant uses the Trademarks in connection with its sale of the
  23 Products without Plaintiff’s authorization or consent.
  24                105. The Products sold by Defendant are materially different than genuine
  25 Products sold by Plaintiff because Defendant’s Products do not come with
  26 Plaintiff’s Warranty.
  27
  28

       69980454v1                                       13                         Case No. 2:22-cv-01564
                                                    COMPLAINT
Case 2:22-cv-01564-MEMF-AS Document 1 Filed 03/08/22 Page 14 of 21 Page ID #:14




   1                106. Defendant’s use of the Trademarks is likely to cause confusion, cause
   2 mistake, or deceive customers because it suggests that the Products sold by
   3 Defendant come with Plaintiff’s consumer warranty when, in fact, they do not.
   4                107. Confusion is more likely given that Defendant lists the Products as
   5 “New” despite it being a violation of Amazon’s Marketplace Items Condition
   6 Guidelines to list an item as “New” when it does not come with the manufacturer’s
   7 warranty as is the case with Defendant’s sale of the Products.
   8                108. Defendant’s use of the Trademarks is likely to cause confusion, cause
   9 mistake, or deceive customers because it suggests that the Products are sponsored by
  10 or authorized for sale by Plaintiff, when, in fact, they are not.
  11                109. Defendant’s unauthorized sale of the Products bearing the Trademarks
  12 has infringed on and damages the value of the Trademarks.
  13                110. Defendant informed Plaintiff that its sales of the Products infringed on
  14 Plaintiff’s rights in the Trademarks.
  15                111. As a direct and proximate result of Defendant’s sale of the Products
  16 bearing the Trademarks, Plaintiff has suffered and continues to suffer immediate and
  17 irreparable harm, including harm to the reputation and goodwill of its business and
  18 loss of profits in an amount to be proven at trial.
  19                112. Plaintiff is entitled to recover damages from Defendant’s infringement
  20 of the Trademarks and disgorgement of any profits from Defendant’s infringing
  21 sales of the Products.
  22                113. Plaintiff is further entitled to injunctive relief pursuant to 15 U.S.C.
  23 §1116 and increased damages pursuant to 15 U.S.C § 1117(a) because Defendant’s
  24 infringement of the Trademarks is willful.
  25                                                Count Six
  26                              Trademark Dilution (15 U.S.C. § 1125(c))
  27                114. Plaintiff incorporates each and every preceding paragraph as if fully
  28 restated herein.

       69980454v1                                       14                         Case No. 2:22-cv-01564
                                                    COMPLAINT
Case 2:22-cv-01564-MEMF-AS Document 1 Filed 03/08/22 Page 15 of 21 Page ID #:15




   1                115. Plaintiff is the owner of the Trademarks.
   2                116. The Trademarks are valid and subsisting marks, in full force and effect,
   3 and registered with the United States Patent and Trademark Office.
   4                117. Plaintiff has continuously used the Trademarks in commerce and has
   5 spent considerable sums in time and money to promote and advertise its Products
   6 using the Trademarks.
   7                118. Plaintiff sells the Products bearing the Trademarks throughout the
   8 United States.
   9                119. Customers have come to associate the Trademarks with Plaintiff and
  10 the Products.
  11                120. Customers associate the Trademarks with high-end, top quality
  12 percussive massage devices.
  13                121. Defendant is using the Trademarks in connection with the sale of the
  14 Products.
  15                122. However, the Products sold by Defendant are materially different than
  16 genuine Products sold by Plaintiff because Defendant’s Products do not come with
  17 Plaintiff’s consumer warranty.
  18                123. Because Defendant is selling an inferior product, Defendant’s use of
  19 the Trademarks is causing the dilution of the Trademarks by blurring and tarnishing
  20 the reputation and goodwill associated with the Trademarks in violation of 15
  21 U.S.C. § 1125(c).
  22                124. As a direct and proximate result of Defendant’s sale of the Products
  23 bearing the Trademarks, Plaintiff has suffered and continues to suffer immediate and
  24 irreparable harm, including harm to the reputation and goodwill of its business and
  25 loss of profits in an amount to be proven at trial.
  26                125. Plaintiff is entitled to recover damages from Defendant’s infringement
  27 of the Trademarks and disgorgement of any profits from Defendant’s infringing
  28 sales of the Products.

       69980454v1                                     15                        Case No. 2:22-cv-01564
                                                  COMPLAINT
Case 2:22-cv-01564-MEMF-AS Document 1 Filed 03/08/22 Page 16 of 21 Page ID #:16




   1                126. Plaintiff is further entitled to injunctive relief pursuant to 15 U.S.C.
   2 §1116 and increased damages pursuant to 15 U.S.C § 1117(a) because Defendant’s
   3 infringement of the Trademarks is willful.
   4                                              Count Seven
   5                                     Violation of §§ 17200 et seq.
   6           127.       Plaintiff hereby incorporates each and every preceding paragraph as if
   7 fully restated herein.
   8           128.       Defendant has knowingly sold and advertised the Products using the
   9 Trademarks, without Plaintiff’s authorization or consent.
  10           129.       The Products sold by Defendant are materially different than genuine
  11    Products sold by Plaintiff because Defendant’s Products do not come with
  12    Plaintiff’s consumer warranty, and upon information and belief, Defendant does not
  13    abide by Plaintiff’s quality controls, and Defendant does not offer the necessary
  14    level of customer service to consumers.
  15                130. As a result, Defendant is misrepresenting to consumers the Products
  16 that it is selling.
  17                131. Defendant’s use of the Trademarks is likely to cause confusion, cause
  18 mistake, or deceive consumers because it suggests that the Products sold by
  19 Defendant come with Plaintiff’s consumer warranty and have been handled in
  20 accordance with Plaintiff’s quality controls when, in fact, they do not.
  21                132. Defendant’s use of the Trademarks is likely to cause confusion, cause
  22 mistake, or deceive consumers because it suggests that the Products are sponsored by
  23 or authorized for sale by Plaintiff, when, in fact, they are not.
  24                133. Defendant’s conduct is unfair, unlawful, deceptive, and/or fraudulent
  25 and violates Cal. Bus. & Prof. Code §§ 17200 et seq.
  26                134. As a direct and proximate result of Defendant’s conduct, Plaintiff has
  27 suffered and continues to suffer immediate and irreparable harms, including harm to
  28

       69980454v1                                       16                         Case No. 2:22-cv-01564
                                                    COMPLAINT
Case 2:22-cv-01564-MEMF-AS Document 1 Filed 03/08/22 Page 17 of 21 Page ID #:17




   1 the reputation and goodwill of its business and loss of profits in an amount to be
   2 proven at trial.
   3                135. Plaintiffs are also entitled to an injunction under Cal. Bus. & Prof.
   4 Code § 17203.
   5                                              Count Eight
   6                                          Violation of § 14247
   7                136. Plaintiff hereby incorporates each and every preceding paragraph as if
   8 fully restated herein.
   9                137. Plaintiff is the owner of the Trademarks.
  10                138. Plaintiff has continuously used the Trademarks in commerce and has
  11 spent considerable sums in time and money to promote and advertise its Products
  12 using the Trademarks, in California and throughout the United States.
  13                139. Plaintiff sells the Products bearing the Trademarks in California and
  14 throughout the United States.
  15                140. Consumers have come to associate the Trademarks with Plaintiff and
  16 the Products, and the Trademarks have become well known and distinctive in
  17 California and the United Sates.
  18                141. Consumers associate the Trademarks with high quality percussive
  19 massage devices, wellness products, and accessories.
  20                142. Defendant is using the Trademarks in connection with the sale of the
  21 Products, in violation of Cal. Bus. & Prof. Code §14247.
  22                143. As a direct and proximate result of Defendant’s sale of the Products
  23 bearing the Trademarks, Plaintiff has suffered and continues to suffer immediate and
  24 irreparable harm, including harm to the reputation and goodwill of its business and
  25 loss of profits in an amount to be proven at trial.
  26                144. Plaintiff is entitled to injunctive relief due to Defendant’s willful
  27 actions under Cal. Bus. & Prof. Code §14250.
  28

       69980454v1                                       17                         Case No. 2:22-cv-01564
                                                    COMPLAINT
Case 2:22-cv-01564-MEMF-AS Document 1 Filed 03/08/22 Page 18 of 21 Page ID #:18




   1                WHEREFORE, Plaintiff prays for judgment as follows:
   2                A.   As to Count One, a declaratory judgment declaring that Defendant is
   3 not authorized to sell the Products and is willfully violating Plaintiff’s rights in the
   4 Trademarks, and permanently enjoin Defendant from any further sales of the
   5 Products;
   6                B.   As to Count Two, award compensatory damages in an amount to be
   7 determined at trial, as well as attorney fees and costs, disgorge Defendant of its
   8 profits from all unauthorized sales of the Products, and permanently enjoin
   9 Defendant from using the Trademarks or selling or offering for sale the Products;
  10                C.   As to Count Three, award compensatory damages in an amount to be
  11 determined at trial, as well as attorney fees and costs, disgorge Defendant of its
  12 profits from all unauthorized sales of the Products, permanently enjoin Defendant
  13 from using the Trademarks or selling or offering for sale the Products, and
  14 permanently enjoin Defendant from interfering with Plaintiff’s current and
  15 prospective relationships with its Authorized Resellers by further selling the
  16 Products;
  17                D.   As to Count Four, award compensatory damages in an amount to be
  18 determined at trial, as well as attorney fees and costs, disgorge Defendant of its
  19 profits from all unauthorized sales of the Products, and permanently enjoin
  20 Defendant from using the Trademarks or selling or offering for sale the Products;
  21                E.   As to Count Five, award compensatory damages in an amount to be
  22 determined at trial, as well as attorney fees and costs, disgorge Defendant of its
  23 profits from all unauthorized sales of the Products, and permanently enjoin
  24 Defendant from using the Trademarks or selling or offering for sale the Products;
  25                F.   As to Count Six, award compensatory damages in an amount to be
  26 determined at trial, as well as attorney fees and costs, disgorge Defendant of its
  27 profits from all unauthorized sales of the Products, and permanently enjoin
  28 Defendant from using the Trademarks or selling or offering for sale the Products;

       69980454v1                                   18                        Case No. 2:22-cv-01564
                                                COMPLAINT
Case 2:22-cv-01564-MEMF-AS Document 1 Filed 03/08/22 Page 19 of 21 Page ID #:19




   1                G.    As to Count Seven, award compensatory damages in an amount to be
   2 determined at trial, but in excess of $25,000, as well as attorney fees and costs,
   3 disgorge Defendant of its profits from all unauthorized sales of the Products, and
   4 permanently enjoin Defendant from selling the Products pursuant to Cal. Bus. &
   5 Prof. Code § 17203; and
   6                H.    As to Count Eight, award compensatory damages in an amount to be
   7 determined at trial, but in excess of $25,000, as well as attorney fees and costs,
   8 disgorge Defendant of its profits from all unauthorized sales of the Products, and
   9 permanently enjoin Defendant from selling the Products, along with an award of
  10 treble damages pursuant to Cal. Bus. & Prof. Code § 14250; and
  11                All other relief that this Court may find just and proper.
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

       69980454v1                                       19                       Case No. 2:22-cv-01564
                                                    COMPLAINT
Case 2:22-cv-01564-MEMF-AS Document 1 Filed 03/08/22 Page 20 of 21 Page ID #:20




   1 DATED: March 8, 2022              JEFFER MANGELS BUTLER &
                                       MITCHELL LLP
   2
                                       GREGORY S. CORDREY
   3                                   ROD S. BERMAN
   4
   5
                                       By:         /s/ Gregory S. Cordrey
   6
                                                     GREGORY S. CORDREY
   7
                                                                 and
   8
   9                                         KOHRMAN JACKSON & KRANTZ LLP
                                             ALEX E. JONES (PHV Application to be
  10                                         submitted)
  11                                         aej@kjk.com
                                             KYLE D. STROUP (PHV Application to
  12                                         be submitted)
  13                                         kds@kjk.com
                                             1375 East Ninth Street, 29th Floor
  14                                         Cleveland, Ohio 44114
  15                                         Telephone: (216) 696-8700
                                             Facsimile: (216) 621-6536
  16
  17                                         Attorneys for Plaintiff
                                             THERABODY, INC.
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

       69980454v1                            20                        Case No. 2:22-cv-01564
                                        COMPLAINT
Case 2:22-cv-01564-MEMF-AS Document 1 Filed 03/08/22 Page 21 of 21 Page ID #:21




   1                                           JURY DEMAND
   2                Plaintiff respectfully demands a trial by jury pursuant to Fed. R. Civ. P. 38.
   3
   4
       DATED: March 8, 2022                       JEFFER MANGELS BUTLER &
   5
                                                  MITCHELL LLP
   6                                              GREGORY S. CORDREY
                                                  ROD S. BERMAN
   7
   8
   9                                              By:         /s/ Gregory S. Cordrey
  10                                                            GREGORY S. CORDREY
  11                                                                        and
  12
                                                        KOHRMAN JACKSON & KRANTZ LLP
  13                                                    ALEX E. JONES (PHV Application to be
  14                                                    submitted)
                                                        aej@kjk.com
  15                                                    KYLE D. STROUP (PHV Application to
  16                                                    be submitted)
                                                        kds@kjk.com
  17                                                    1375 East Ninth Street, 29th Floor
  18                                                    Cleveland, Ohio 44114
                                                        Telephone: (216) 696-8700
  19                                                    Facsimile: (216) 621-6536
  20
                                                        Attorneys for Plaintiff
  21                                                    THERABODY, INC.
  22
  23
  24
  25
  26
  27
  28

       69980454v1                                       21                         Case No. 2:22-cv-01564
                                                   COMPLAINT
